                         UNITED STATES DISTRICT COURT
                                                 for
                     EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

U.S.A. vs. Tyrone Little                                             Docket No. 5:96-CR-157-9H

                         Petition for Action on Supervised Release

        COMES NOW Eddie 1. Smith, probation officer of the court, presenting a petition for
modification of the Judgment and Commitment Order of Tyrone Little, who, upon an earlier plea
of guilty to 21 U.S.C. § 846, Conspiracy to Possess with Intent to Distribute and Distribution of
Cocaine Base, and 18 U.S.C. §§ 924(c) and 2, Possession of a Firearm in Relation to a Drug
Trafficking Offense and Aiding and Abetting, was sentenced by the Honorable Malcolm J. Howard,
Senior U.S. District Judge, on August 20, 1997, to the custody of the Bureau of Prisons for a term
of 132 months. It was further ordered that upon release from imprisonment the defendant be placed
on supervised release for 60 months under the standard conditions adopted by the court and the
following additional conditions:

1.     The defendant shall consent to a warrantless search by a United States Probation Officer or,
       at the request of the probation officer, any other law enforcement officer, ofthe defendant's
       person and premises, including any vehicle, to determine compliance with the conditions of
       this judgment.

2.      The defendant shall participate as directed in a program approved by the probation office
       for the treatment of narcotic addiction, drug dependency, or alcohol dependency which will
       include urinalysis testing or other drug detection measures and may require residence or
       participation in a residential treatment facility.

       Tyrone Little was released from custody on April 13, 2006, at which time the term of
supervised release commenced.

        RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR
CAUSE AS FOLLOWS: On April 27, 2010, the defendant was charged in Guilford County with
the offense of Speeding 89/65 (lOCR38354). The defendant did not receive permission from the
probation officer to leave the Eastern District of North Carolina. Additionally, he failed to notify
the probation officer ofthis new charge as required. When confronted about these violations on July
23,2010, the defendant revealed he has anger management problems. It is believed the defendant
could benefit from counseling to resolve any anger issues. As for the violations, Little was verbally
reprimanded and informed that any additional such violations could result in punitive sanctions. At
this time, it is recommended that supervision be continued.

       The defendant signed a Waiver of Hearing agreeing to the proposed modification of
supervision.




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       PRAYING THAT THE COURT WILL ORDER that supervised release be modified
as follows:

       The defendant shall participate in a program of mental health treatment to include anger
       management, as directed by the probation office.

       Except as herein modified, the judgment shall remain in full force and effect.


Reviewed and approved,                                I declare under penalty of perjury that the
                                                      foregoing is true and correct.


 /s/ Robert K. Britt                                   /s/ Eddie 1. Smith
Robert K. Britt                                       Eddie J. Smith
Senior U.S. Probation Officer                         U.S. Probation Officer
                                                      310 Dick Street
                                                      Fayetteville, NC 28301-5730
                                                      Phone: (910) 483-8613
                                                      Executed On: July 26, 2010


                                      ORDER OF COURT

Considered and ordered this     liB day of __;Y;;_')---,I"",'"t::----., 2010, and ordered filed and
                    o ds in the above case.           [j=




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